
THE prisoner was indicted for the larceny of a slave, •*" “ of the goods and chattels of one .Elizabeth Ed» *! wards, and out of the possession of the said Elizabeth a Edwards.”
*15The jury found a verdict in the following words: “ We of the jury do find that William Williams, the pri- “ soner at the bar, did steal, take and carry away, the ne- “ gro slave Solomon, in the indictment named, on the 25th “October, If91, out of the possession of Thomas Ed- “ wards, to whom the said slave was hired for one year “ by Elizabeth Edwards, the right owner of the said “negro slave Solomon. Now if the, possession of the “ said Thomas Edwards be the possession of the said “ Elizabeth Edwards in law, we find the prisoner guilty of “ the felony, with which he stands charged, otherwise “ we find him not guilty.”
The matter of law arising on this verdict was adjourned, and at a General Court, june 26, 1792, present, Tazewell, jones and Nelson, judges, it was. resolved “ that the possession of Thomas Edwards, of the negro “ slave in the indictment named, is not sufficient in law “ to sustain the charge as laid in the said indictment, u and that judgment thereon ought to be given for the “ defendant.”
